(Fl:‘v).n§;§) CaSe 2:OO-cr-20030-.]PI\/| Document 38 Filed 09/02/05 Pagelon Page|D 40

UNITED sTA'rEs DISTRICT coURT f
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U.S.A. vs. MARTIN BERLANSTEIN Docket No.

 

 

Petition on Probation and Supervised Release

COMES NOW MARNIE KLYMAN PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Martin Berlanstein who was placed on supervision by the Honorable M
Smith Gibbons sitting in the Court at Memphis, TN on the _ZLd day of Marcl_rl 29_0_1, who nxed the period of
supervision at three 131 years*, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

 

The defendant shall undergo psychological counseling as directed by the Probation Oftice.

The defendant shall discuss his Enancial situation on a regular basis with his Probation OHicer.

The defendant shall obtain full time employment

The defendant is prohibited nom participation in any gambling activity, and is not to be employed in the
gambling industry.

5. The defendant shall pay restitution in the amount of $I 12,915.86, as directed by the Probation Oflicer and
shall not attempt to discharge restitution through Ba.nlcruptcy proceedings or obtain a payment at less than
liJll value. (Balance: $l 10,155.86)

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* Term of Supervised Release began September 5, 2002, in the District of Maryland (Baltimore).
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Pursuarrt to Marci Rapp, United States Probation OH‘icer, District ofMaryland (Baltirnore) who has been responsible .
for the supervision of Mr. Berlanstein, he will be unable to satisfy his outstanding restitution balance prior to his
expiration date. Mr. Berlanstein has made a good faith effort to satisfy the Court’s order by making consistent
monthly payments in the amount of $110.00. Mr. Berlanstein has signed a payment agreement with the U. S.
Attomey’s Financial Litigation Unit wherein he agrees to continue to pay $110.00 per month toward his debt until
such debt is paid in full.

PRAYING THAT THE COURT WILL ORDER that Martin Berlanstein’s supervision terminate as scheduled
on September 4, 2005, with the understanding that the United States Attomey’s OfEce will be responsible for the
continued collection of the restitution

 

ORDER OF COURT Respectfully,
Considcred and grdmd this §§ day
of g :S;{,:T! f , 2031 and ordered iiled and Marnie Klyman
made a part of the re rds ` the above case. United States Probation Ofiicer
§ _\_ (
Q W » Place Memphis, Tennessec

 

Wed states Disu-icr Judge
Date Mtember 2. 2005

this document entered on the docket §§th in compliance
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UNITED S`…ATEISTIC COUR -W"'RTE D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:00-CR-20030 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

